Case 3:23-cr-00055-DJH Document 33-1 Filed 12/27/23 Page 1 of 1 PagelD #: 186

December 13, 2023

Judge David J. Hale

District Judge, U.S.D.C
Western District of Kentucky

This letter is intended to summarize my relationship with John
Schmidt and his family. I have considered John’s daughter, Erica
Schmidt, to be one of my closest friends for over 13 years.

John provided legal guidance and support following the death of
my mother in 2018 when I was 26 years old. My support system
was very limited at the time, due to the death of my father when
I was 16 and having no siblings. The help John provided was a
true example of his character. I will be forever grateful for
John’s care and guidance during some of my darkest days.

The Schmidt’s are a wonderful family. | know every member of
the family to be thoughtful and kind to all. I also know how
much John actively supports his daughters and grandsons. As
someone who has lost their father, I know the true value of the
love and support John provides his family. Whenever Erica is
away and needs someone to walk her beloved dog, Captain,
John is there. Whenever Stephanie needs help with Cole and
Theo, John is there.

Please take my letter into consideration and show leniency to
John. He will continue to be a kind, loving man who supports
his family and support anyone around him in need.

Sincerely,

Quince Cheatham

